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                          MOTION UNDER 28 USC § 2255 TO VACATE, SET ASIDE, OR CORRECT
AO 243 (Rev. 5/85}                     SENTENCE B^UA PERSON IN FEDER.AL CUSTODY
                                                                          District
       United States District Court                                   Southern District Of Ohio
                                                                          Prisoner No.                 Case No.
 Niune of-Moviuit
                                                                      7024S-061                        l:12-cr-43
Tracv Bias
Place of Confinement
TCI Elkton Federal correctional Institution P. O, Box 10 Lisbon. Ohio 44432


                UNITED STATES OF AMERICA                           V. Tracy Bias
                                                                                         (name underwliichconvicted)

                                                              MOTION


    1. Name and location ofcourt wliich entered the judgment of conviction under attack
       United Stales District Court Southern District of Ohio Western Division


    2. Date ofjudgment of conviction May 21. 2014
    3Length                 168 months plus 10 years supervised release
    4. Nature of offense involved (all counts)
          Myself and 7 others were indicted with 12 counts, among those being conspiracy to distribute a controlled substance, I
          was also charged with euiispiraey to obtain drug.sby dcccptluii. with multiple comitA of maintaining a drug [uemiscs.
          and with continuing a criminal enterprise




    5, What was yom- plea? (Check one)
        (a) Not guilty        •
         (b) Guilty              0
         (c) Nolo contendere     •

        Ifyou entered a guilty plea to one count orindictment, and a not guilty plea to another coimt orindictment, give details:
          1plead guilty to Count One ofthe Superseding Indictment, and tiie forfeiture allegations, fhc guilty plea was part of
          a written pleaagreement with the United States. 1lie plea agreement contemplated that 1would provide cooperation
          to the government regarding its prosecution of others, specifically Mr. Flillmam. Should 1cooperate in (his matter as
         'Tuquired uiiJ provide honest and euiiipleie icstiiiiuny. the United Statc.s agiues to.see a lenii of iiiLaiLeiHiiun nut
          exceeding ten (10) years                                                                                          ro

                                                                                                                       _                _




                                                                                                              o'.'C-..-'-         r~
                                                                                                              —t—rn               dc."
    6. If you pleaded not guiltj", what kind of trial did you have? (Check one)                                             CO
          (a) Jury                •                                                                            c:o          -
                                                                                                                                    O   ^• i
         (b) Judge only          0                                                                                          ^
                                                                                                               r:::00
                                                                                                                            5*-
    7, Did you testify at the trial?                                                                                        ZL
        Yes D No 0                                                                                             z£:^cz                   T"
                                                                                                                             XT

    8. Did you appeal from tlie judgment of conviction?
         Yes 0 No •




                                                                    (2)
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     9. If you did appeal, answer tlie following:

          (a) Name of court United States District Court Southern District of Ohio

          (b) Result Dismissed appeal for lack ofjurisdiction
          (c) Date ofresult June 13,2014
    10. Other than a direct appeal from the judgment ofconviction and sentence, have you previously filed any petitions,
         applications or motions with respect totliis judgment in any federal court?
         Yes 0 No D

    11. If your answer to 10 was "yes", give the following information:

          (a) (1) Name ofcourt      United States Court Of Appeals For The Sixth Cicuit
              (2) Nature ofproceeding Slalc.ncul regarding subjccl-maltorjurisdiction


              (3) Grounds raised The district court erred when itfailed to require the government to abide by the terms ofthe
                                    plea agreement regarding sentencing recommendations and remedies the government could
                                    pursue ifitbelieved 1breached the plea agreement. As aresult, the district court sentenced me
                                    in violation of due process of law.




              (4) Didyou receive an evidentiary hearing on yourpetition, application or motion?
                     Yes •   No S


               (5) Result

              (6) Date ofresult NQVcmbor 25. 2015
           (b) As to any secondpetition, application or motiongive tlie sameinformation:

              (1) Name ofcourt

               (2) Nature of proceeding




              (3) Grounds raised




                                                                     (3)
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               (4) Did you receive an evidentiary hearing on your petition, application or motion?
                     Yes •   No •

               (5) Result

               (6) Date ofresult

           (c) Did you appeal, to an appellate federal court having jurisdiction, the result ot action taken on any petition,
                applicationor motion?
                (1) First petition, etc.       Yes E No •
                (2) Second petition, etc.          0 No •
            (d) Ifyou did not appeal from die adverse action on any petition, application or motion, exTilain briefly why you did not




       12. State concisely every ground on which you claim that you are being held inviolation ofthe constitution, laws or
        " treaties of tlie United States. Summarize briefly thefacts supporting each ground. If necessary, you may attach
            pages stating additional grounds and facts supporting same.
            CAUTION Ifyou fail to set forth allgrounds intins motion, you may be barred from presenting additional
            grounds at a later date.


             For your information, the following is alist ofthe most frequently rarsed grounds for reliefin these proceedings. Each
          statement preceded by aletter constitutes aseparate ground for possible relief You may raise any grounds wliich you have
          other dian those listed. However, you should raise intliis motion all available grounds (relating to tltis conviction) on which
          you based your allegations thatyou are being held incustody imlawfully.
             Do not check any ofthese listed grounds. Ifyou select one or more ofthese grounds for relief, you must allege facts. The
          motion will bereturned toyou ifyou merely check (a) through (j) or any one ofthegrounds.
            (a) Conviction obtained by plea ofguilty which was unlawfully induced or not made voluntarily or with understanding of
                 the nature of the charge and the consequences of the plea.
            (b) Conviction obtained by use of coerced confession.


                                                                        (4)
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           (c) Conviction obtained by use ofevidence gained pursuant to an unconstitational search and seizure,
          fd) Conviction obtained by use ofevidence obtained pursuant to an umawftl arrest.

                to the defendant.                                              , ,i •        a


           (i) Denial ofeffective assistance ofcounsel.
           (j) Denial ofright ofappeal.
                                     I was sentenced inviolation ofdue process oflaw
                     A. Ground one:

                         1was sentenced inviolation ofdue process oflaw

                         Supporting
                         Supporting FACTS (state briefly without citing cases or law)

                         The government broke the plea agreement (contract). They failed to file die proper motion. However, they
                         .mu5un uith it iLiltrnriiif: - "             davs before i^Liituicing. Thi4 ivai prcncntwJ fiyc dayn
                         i;toe';entenc^irS^
                                    fr. ...-oc Irnmrinc               ihrv w-r-to let me withdraw
                                                                                  vnnnnspd  tn and my  plea only
                                                                                                   thejnHgr  <niflafter
                                                                                                                   this thisapealed.
                                                                                   to 1ok'months.Th^e was nothing mmy mca^
                          Aor.^,>m.>.nt thai .llnwi-d tlinm (n Hn this Tfee]    thp. Gnvcmmr-nt didn't wapt to nrrnr the cost ofatni^.
                          All ofmy eo-defendants had all already been sentenced and Ifeel they believe that their mfonnants
                          not credible.



                                          ineffective counsel
                     B. Ground two:




                         Supporting FACTS (state             without citing cases or law):
                          MVstmracVsucvcrn„cc discussed sdcfc.« S.ra!cgy A.Uihoy »crcwilling -0 discuss wns aP'^a^in
                          with the United Sliitcii iuid the prorrcutor. Iloni- Ihir rlc,rbarBTn umb lb"
                          every ausrver Ibad to their questions eonceraing tuy attorney Steve Htllmaii. His tnal recited mam..
                          ,ri.u,.d Mr Hillmaii nicadiur tmilty to tan eyasloil, IrQeeiycd more
                          this case combined. During the whole process Iwas appointed several differuit attorneys and tcU
                          uoimTthemLe prouo-lv nreoared to even take mv ease to trial. My attorueys only wanted to discuss a
                          pleabargain and no defense.




                                               Miss Conduct of the United States Government
                      C. Ground three:




                           Supporting FACTS (state briefly without citing cases or law):                                           ^
                           T1.C Pic, Ap-ccment was only reached after the Statement OfFacts was amended to omit any allugabons
                           tliat 1owiicd Tiiiiity TIealtb Cnie ui that 1.spoiMuiLd |"iilieiit.s to tliui eliiiic or any utliei tile fw
                           O—Sedtte Leaded                        Statement  ofFacts.   The    goverumeut      new-  these
                                                        picH mir Pics Tbcv new p-|iat mv aunvrrs weir slrriidy gning tn be wb.
                                                                                                                                    for
                           testified in the Hillman trial. Instead they let me waive my Constitutional Rights.



                                                                         (5)
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                                           Malicious Prosecution Prom Judge Michael R. Barret
                    D. Ground four



                           Supporting FACTS (state           without citing cases or law);
                           The Gnvcnuuem. Tim Oakley asked the court ifU


                           supposed to do, that is why he ask the State
                                 Pt^^ttaknrHittt hi                               ::or
                                                                                         a'n'ai [°iu'°-°-   ^"••'i- -.-nti-iirr in Bap
                                                                                                                                    .
                                years probatiotr. Io.tly have—
                            „Uh y                            oite o'h'^r •U'soetueanor na.^. -
                              ijppri-ss^rd by epher "f"ft' Npl                           7pf diargod in tny indictment, Bart received
                              plSfii^ined
                              profits  obtained.«in the aniount ot $6,348,l«».»u
                                                                     '^1^, , tne     e in tnativ --n, n.e.-ive sneh time. ,Ialso
                                                                                 witness                                    ^iso
                            :sgssssss^S!!Ss^=^
                            cooperated with them and ended up witn moie un.e i.a.. <«.:r - •
                            uniilst and nnconstitntional to allow this to happen in the Tederal Conrg
      .3 Ifany ofdte grounds listedin 12A. B, C, and Dwere not previously presented, state briefly whatgrounds were not so
         presented, and give your reasons for not presenting tliem
           presented, and give your ^ea^ull^

           BCand D. Ihad ineffective counsel througMH^




        14. Do yon have any petition orappeal now pending in any courtas to the judgment under attack?
            Yes CH No @

        15. Give the name and address, ifknown. ofeachattorneywho represented yon in the following stages ofthejudgmentattacked
             iiereirL
                                               Karen Savir. ESQ. Federal Public Defender's Office
               (a) At preliminary hearing
                    Chiqnita Center 250 East Fifth Stteet Cincinnati Ohio
                                                 Theodore J. Froncek, Jr,ESQ Olde Sycamore Square
               (b) A.t arraignment and plea
                        1208 Sycamore Street Cincinnati. Ohio
                                No trial
                (c)At trial



                                             T. Keller ESQ. 2345 Kcmpcr Lane P.O. Box 6129 Cincinnati, Ohio
                (d) At sentencing
                                                                                                                                      i   !.


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           (e) Onappeal
                             Timolhy J. Bickiicll 3628 Jefferson Avenue, 1st floor Cincinnati, Ohio 4^220


            (f) In any post-conviction proceeding



            fe)   On appeal from any adverse mling in apost-coimction proceeding


      16. Were you sentenced on more Urnn one count ofan indictment, or on more than one indictment, in the same court and at
           approximately the same time?
           Yes Q NoB

      17, Do you have any future sentence to serve after you complete the sentence imposed by thejudgmentunder attack?
           Yes • No 0

           (a) Ifso, give name and location ofcourt which imposed sentence to be served in tlie future;



            (b) Give date and length ofthe above sentence:


            (c) Have youfiled, or do you contemplate filing, any petition attacking tlie judgment wliich imposed the sentence to be
                  served in the fiiture?
                  Yes D No 0



         Wherefore, movant prays           that the Court grant him all relief to wliich he may be entitled mthis proceeding.


                                                                                              Signature ofAttorney (ifany)




          Ideclare under penalty of perjuiy tiiat the foregoing is true and correct. Executed on
        DO////ao/?
                            (date)


                                                                                                   Signature of Movant




                                                                            (1)
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                                  UNITED STATES DISTRICT COURT



                                    SOUTHERN DISTRICT OF OHIO



                                 WESTERN DIVISION AT CINCINATTI



UNITED STATES OF AMERICA



Vs.

                                                         Case No. l:12-CR-43


TRACY BIAS




BIAS'S MEMORANDUM OF FACTS IN SUPPORT OF PETITION FILED


                                          UNDER 28 U.S.C. 2255




         Comes now Tracy Ray Bias, and files this my Memorandum of Law in Support of Petition Filed
 Under 28 U.S.C 2255 and is based upon the deprivation of my Sixth Amendment right to effective
 assistance of counsel, and upon violations of the Due Process Clause of the Fifth Amendment that
 resulted from the deprivation of effective assistance. Iam currently incarcerated at FCI Elkton Federal
 correctional Institution P.O. Box 10 Lisbon, Ohio, sen/ing asentence of 168 months. Iwas sentenced to
 168 months despite my extensive cooperation with, and substantial assistance to, the U.S. government
 Iwas sentenced to 168 months despite aplea agreement that provided that the U.5. government wou
 not seek more than 120 months,

 Iwas sentenced to 168 months because my attorney's failed to protect my most basic constitutional
 rights at sentencing.Those rights included the constitutional right not to be sentenced on the basis o
 false or incorrect government allegations. Those rights also included the constitutional right to have the
 USgovernment honor the terms of the plea agreement. In sum, Iwas deprived of effective assistance
 of counsel in fundamental and serious ways. My sentence of 168 months in prison was aresult of the
  ineffective assistance and miss conduct ofthe United States.
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rmreltencedona,uiiandaccuraterecord,freeofmisstatement,and.namannerwholly
The relief that 1am seeking is simple, and is mandated by iaw= that my sentence
compliantwith the government's obligation imderthe plea agreement.
          ISSUES ANDSUPPORTING ARGUMENTTOGETHER WITH POINTS AND AUTHORITIES OF lA

     A. Plea Agreement and Violation of Due Process of Uw



     violation of due process of law.


     '•                         ™n....
               guilty plea was part of awritten plea agreement with the -r/sr;:s—
                                                                        United Sta . . .
               Ltemplated that if 1would provide cooperation to the government regarding !
               prosecution of others, specifically Mr. Hillman. Should 1cooperate in this ™ ^
               Ld provide honest and complete testimony, the United States agrees to seek term of
               "carclrln not exceeding (10) years. 1also understood that if 1was to violate and fai o
               provide complete cooperation as determined by the United States.        un ers o
               agreed that the United States can move that the plea be withdrawn and then '        Jace
               the charges set within the entire indictment. 1was sentenced to 168                   J
               attorney's failed to protect my most basic constitutional rights at
               included the constitutional right not to be sentenced on the basis °f ^
               government allegations. Those rights also included the constitutional
               government honor the terms of the plea agreement. In sum, 1was                 ^ '
               Lsistance of counsel in fundamental and serious ways. My sentence of 168 months n
                prison was aresult of the ineffective assistance and miss                            J
                attorneys never once discussed adefense strategy. All they wanted to discuss was
                Bargain with the United States.



          C.   Miss Conduct ofthe United States Government


                The plea was only reached after the Statement of Facts was amended to omit any
                allegations that 1owned Trinity Health Care or that 1sponsored patients t° clmic or y
                other clinic involved. After that had been amended and after that Amended Statement of
                 Facts was accepted by the government, the government agreed that it would see no more
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     than 10years if Icooperated, but also agreed that if 1did not cooperate, that it would move
     to withdraw my plea See: paragraph 5: plea agreement.
     The government newthese facts the whole time for almostayear since rt accepted my plea
      and the government could have said, knowing that Iwould deny these things, th
       olrnL^ could have called me aliar, we don't believeyou, and we're
      your plea. The government could have filed amotion to withdraw as required by
      'TnStCi-my constitutional rights. This is misconduct from the United
      Stat s ove nme ti It is in position that, under the Plea Agreement, the government was
      Sred " move to withdraw my plea in the event that. did not cooperate or request no
      more than 10 years in the event Idid cooperate. One way or another, the government was
      required to act It did not file aMotion to withdraw my plea, instead took my testimony
      r:: o:Lstand . open court. The government never
      me to have breached the plea agreement. The Government accepted ^' ^
      conferred on it by the plea agreement and then refused to discharge its obkgation to s^
      term of incarceration not exceeding (10) years. Id. Accordingly, Ihave been denied
      "benefit of my bargain" in violation of due process of law.

 D Malicious Prosecution from Judge MICHAEL R. BARRETT                                             tn
          Tim Oakley asked the court if it would want the United States to file amot on to
       withdraw the plea, go to trial with statements admitted as per the entire Plea Ag^men
       that it was their contract. See: document #367, the court finds it not necessani.
       States VHarrington      Cir.2016) No. 15-3486
           As in the Harrington case there is no indication that Ilied at Hilimans              ^^
       incentkre to see Hiilman acquitted-on the contrary, had Hiilman been convicted this would
       have enhanced my value to the prosecution and thereby increased the likelihood that th
       grernment would go all out, and succeed, in persuadingthe district judge to sentence me
              VaTrett^Zs the United States to construe up aSentencing Memorandum 5
        days prior Iwas never notified by any motion or any other document that the Government
        Hearc^rehad
        did not believe been omittedfrom
                        me and             the StatementofFacts.
                                their recommendations             Not onlEveiything
                                                         were changing.  y thatJudgeS^^^^^
                                                                                    about Trinity
        but the Governthent new that Iwas not going to admit to this at Steve Hilimans trial.
        Judge Barrett claims to have taken into consideration that Bart Journey            ^            ^
        years in BOP with him having away worse background and criminal histon^. Bart Journey
         has several other previous felony charges. See United States v. Bart Journey, ony 3
         other misdemeanor charge other than the charge that .have been              ^
         court Not only did the judge sentence me to 14years, the courts find me responsible or aH
         profits obtainedifrom the businesses in the amount of $6,348,000.00.1        tTelZ
         involved in this base. Myself and all others involved in my case was senten
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           judge Michael R. Barrett. 1received the largest sentertce of all with all other defendants
            receiving 5years or iess. See: Criminal Docket for Case #l:12-cr-00043-MRB all defendants.
The reliefthat 1am seeking is simple, and is mandated by law: that my sentence is remanded or
vacated, and that Iam resentenced on afull and accurate record, free of misstatemen ,an
manner wholly compliant with the government's obligation under the plea agreement.
